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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

                         CASE NO.: 8:23-cv-2797-MSS-CPT

 HOWARD COHAN,

       Plaintiff,

 vs.

 FAGURA 3 LLC,
 d/b/a LA QUINTA INN AND SUITES,

       Defendant.
 ___________________________________/
                      NOTICE OF PENDING SETTLEMENT

       Plaintiff, HOWARD COHAN (“Plaintiff”) and Defendant, FAGURA 3 LLC

 d/b/a LA QUINTA INN AND SUITES (“Defendant”), by and through undersigned

 counsel, pursuant to Local Rule 3.09, hereby give notice that Plaintiff and Defendant

 (“Parties”) have reached an agreement in principle for the resolution of this matter and

 are in the process of finalizing the necessary written settlement documents. The Parties

 respectfully request that the Court stay all matters and pending deadlines in this action

 and grant the Parties thirty (30) days to finalize the necessary written settlement

 documents and file proper pleadings to close this matter out.



 Dated this 6th day of March, 2024.
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                                                Respectfully Submitted:

                                         BY:    s/ Jason S. Weiss
                                                Jason S. Weiss
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                                                Attorneys for Plaintiff




                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 6th day of March, 2024, I electronically filed

 the foregoing with the Clerk of the Court by using the CM/ECF system which

 automatically gives notice to all counsel of record.


                                         BY: s/ Jason S. Weiss
                                               Jason S. Weiss
